    Case 21-16520-JNP           Doc 80    Filed 09/02/21 Entered 09/02/21 15:12:41           Desc Main
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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEW JERSEY


In Re:                                                      Case No.:                   21-16520
                                                                                 ______________________
  Aluminum Shapes, L.L.C.                                                               10/7/2021
                                                            Hearing Date:        ______________________

                                                            Chapter:                       11
                                                                                 ______________________

                                                            Judge:                        JNP
                                                                                 ______________________


                                          NOTICE OF HEARING
                                                                         Jerrold N. Poslusny, Jr.
         You are hereby notified of a hearing before the Honorable _________________________________,
         United States Bankruptcy Judge.

         Reason for Hearing:          Chapter 11 Status Hearing
                                      ______________________________________________________

                                      ______________________________________________________


         Location of Hearing:                        4C
                                      Courtroom No. _____
                                      400 Cooper Street
                                      __________________________________________
                                      Camden, NJ 08101
                                      __________________________________________
                                      __________________________________________


         Date and Time:                10/7/2021 at 10:00AM
                                      __________________________________________, or as
                                      soon thereafter as counsel may be heard.


         COURT APPEARANCES:               ARE REQUIRED             ARE NOT REQUIRED

      9/2/2021
DATE: _________________________                      JEANNE A. NAUGHTON, Clerk

                                                         /s/ Kathleen V. Ryan
                                                     By: _______________________________
                                                           Deputy Clerk



                                      CERTIFICATE OF MAILING
                                            9/2
        I HEREBY CERTIFY that on _______________________,   21
                                                          20______ this notice was served on the
following: Edmond M. George, Debtor's Attorney via CM-ECF
           United States Trustee

                                                    JEANNE A. NAUGHTON, Clerk

                                                        /s/ Kathleen V. Ryan
                                                    By: ______________________________
                                                            Deputy Clerk

                                                                                                        re v . 1 / 4 / 1 7
